        Case 2:21-cv-01530-AMM Document 70 Filed 12/15/21 Page 1 of 5                        FILED
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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


 EVAN MILLIGAN, et al.,

              Plaintiffs,
                                                  No. 2:21-cv-01530-AMM
              vs.

 JOHN H. MERRILL, et al.,

              Defendants.


           PLAINTIFFS’ SECOND EVIDENTIARY SUBMISSION

      In further support of their motion for a preliminary injunction and following

the production of Exhibits 1 to 5 in Plaintiffs’ First Evidentiary Submission (Doc.

68), Plaintiffs hereby submit the following additional Exhibits as set out below:

      1. Exhibit 6 – 2021 Redistricting Plans Comparative by District Analysis

      2. Exhibit 7 – Hinaman, R. Deposition Transcript (Dec. 9, 2021)

      3. Exhibit 8 – Douglas, S. Declaration

      4. Exhibit 9 – Simelton, B. Declaration

      5. Exhibit 10 – Dowdy, S. Declaration

      6. Exhibit 11 – Milligan, E. Declaration

      7. Exhibit 12 – Jackson, L. Declaration

      8. Exhibit 13 – Oct. 26, 2021 Reapportionment Comm. Transcript
 Case 2:21-cv-01530-AMM Document 70 Filed 12/15/21 Page 2 of 5




9. Exhibit 14 –Hall, L. Declaration
        Case 2:21-cv-01530-AMM Document 70 Filed 12/15/21 Page 3 of 5




DATED this 15th day of December 2021.   Respectfully submitted,

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        Case 2:21-cv-01530-AMM Document 70 Filed 12/15/21 Page 5 of 5




                           CERTIFICATE OF SERVICE

      I hereby certify that I have electronically filed a copy of the foregoing with

the Clerk of Court using the CM/ECF system which provides electronic notice of

filing to all counsel of record.

                                             This the 15th day of December 2021.


                                             /s/ Deuel Ross
                                             COUNSEL FOR PLAINTIFFS
